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                    UNITED STATES DISTRICT COURT
                  FOR THE EASTERN DISTRICT OF TEXAS
                          SHERMAN DIVISION

IN THE MATTER OF:                                §
                                                 §
DILIP JANA                                       §       Civil Action No. 4:24-cv-00698
     Plaintiff,                                  §
                                                 §
v.                                               §                                JUL 0 7 2025
                                                 §
WALMART, INC.,                                   §                         l erk u s. district cour
     Defend nt.                                  §                       c TEXAS EASTE N



 PLAINTIFF S MOTION TO SET ASIDE JUNE 27, 2025 ORDER BASED ON MATERIAL
 MISREPRESENTATION, LOCAL RULE VIOLATION, DUE PROCESS VIOLATION AND
                      FRAUD UPON THE COURT AND FOR SANCTIONS




Plaintiff Dr. Dilip Jana, pro se, respectfully moves this Court to set aside its June 27, 2025 Protective

Order (Dkt. 66) pursuant to Federal Rules of Civil Procedure 54(b), 60(b)(1), 60(b)(3), 60(b)(4), and

60(b)(6). This motion is based on the material misrepresentations made by Defendant Walmart Inc. in

its filings and representations to the Court (Dkt 65), Walmart s violations of Local Rule CV-7(f) by

raising new arguments in reply without affording Plaintiff an opportunity to respond, and the Court s

reliance on these misrepresentations in issuing Dkt. 66, resulting in violations of Plaintiff’s due

process rights and constituting fraud upon the Court under controlling Fifth Circuit and Supreme

Court precedent. Plaintiff further requests that the Court impose appropriate sanctions on Defendant

under its inherent authority and Rule 11 to preserve the integrity of these proceedings, deter future




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misconduct, and protect Plaintiff s statutory and constitutional rights in this whistleblower retaliation

action.



This relief is necessary to preserve due process, protect the integrity of these proceedings, and uphold

the rule of law in this whistleblower retaliation action.



                                 I. JUDICIAL NOTICE

Plaintiff respectfully requests that the Court take Judicial Notice of the following material facts,

which are already in the record and undisputed. Plaintiff requests judicial notice of EXHIBIT A-l

(Dkt. 70, PagelD #1068-1073), Walmart s April 7, 2025 Initial Disclosure, which confirms that

Walmart produced no documents, no electronically stored information (ESI), and no privilege log.

Plaintiff timely brought these deficiencies to the Court’s attention on multiple occasions prior to July

27, 2025 ruling, including (Dkt 62, May 5, 2025):


          During Initial Disclosure (Rule 26(a)(l)(A)(ii)): Defendant submitted zero (0)
      documents, Plaintiff submitted more than 200 documents.

In Plaintiff’s Response (Dkt. 64) on June 18, 2025 ( 29-31), Plaintiff further stated:

          Walmart has failed to produce a single document in its Initial Disclosures, in direct
      violation of Federal Rule of Civil Procedure 26(a)(l)(A)(ii).

Plaintiff further requests judicial notice of EXHIBIT 2 (Dkt. 62), Walmart’s Response to Plaintiff’s

Request for Production (“RFP ) on April 28, 2025, which substantiates that Walmart produced zero

(0) documents and no privilege log while withholding responsive documents prior to filing its Motion

for Protective Order (Dkt. 63) on June 3, 2025.




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Plaintiff request the Court judicial Notice of Local Rule CV-7(f) :


       Reply Briefs. Unless otherwise directed by the presiding judge, a party who has filed an
      opposed motion may serve and file a reply brief responding to the issues raised in the
      response within seven days from the date the response is served. l'lie court need not wait
      for the reply or sur-reply before ruling on the motion.. (emphasis added).

Plaintiff s Response (Dkt 64) had an unintentional error regarding a few citations which Plaintiff

promptly communicated with Walmart. In particular Plaintiff wants emphasize Response (Dkt 64

 31) had a key element Walmart s failure renders it ineligible to rely on such documents at trial or in

dispositive motions under Rule 37(c)(1) Walmart’s violation of Rule 26 (a)(l)(A)(ii), Plaintiff’s

Declaration on May 2, 2025 (Dkt 62) and Plaintiff told Walmart (Dkt 65, EXHIBIT A-4, Page ID

#1024)


          the legal principles supported by those citations are well-established and are already
         reinforced by m ltiple controlling precedents in both the Fifth Circuit and the Eastern District
         of Texas...As an updated and more recent authority on the same issue, I have already
         submitted U.S. BankN.A. v. Lindsey, No. 4:22-cv-03499 (S.D. Tex. 2025) in Dkt. 62.

Finally, Plaintiff respectfully requests that the Court take judicial notice of its own prior Order, Dkt.

60 (Order by Hon. Judge Bill Davis, May 1, 2025), which explicitly states:


         seeking a protective order that meets the Rule 26(c)(1) standard and complies with Fifth
      Circuit precedent... Any such request should be specific... When the Rule 26(c)(1)
      standard has been satisfied, a protective order may properly prohibit dissemination of
      sensitive information to people not involved in the lawsuit without infrin in on the
      right of any party to the lawsuit here, Jana and Walmart to review documents
      exchanged in discovery that are relevant to a party s claim or defense. (emphasis
      added)




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                                   IL INTRODUCTION

On June 3, 2025, after 5:00 PM, Walmart filed its Second Motion for Protective Order (Dkt. 63).

Plaintiff timely filed his Response (Dkt. 64) on June 18, 2025, and Walmart filed its Reply (Dkt. 65)

on June 25, 2025. The Court issued its Protective Order (Dkt. 66) just two days later, on June 27,

2025. However, Walmart s Reply (Dkt. 65) did not address the issues raised in Plaintiff’s Response

(Dkt. 64), in violation of Local Rule CV-7(f), which restricts replies to responding to the issues

raised in the response. Instead, Walmart’s Reply introduced numerous new arguments and

misrepresentations that misled the Court into granting protective relief without giving Plaintiff a

meaningful opportunity to respond. Plaintiff’s Sur-Reply was due on July 2, 2025, yet the Court ruled

before this deadline, depriving Plaintiff of the right to defend against Walmart’s new arguments, in

violation of procedural due process. While Local Rule CV-7(f permits the Court to rule without

waiting for a reply or sur-reply, it does not permit the Court to rely on new arguments raised for the

first time in a reply without affording the non-moving party an opportunity to respond warranting

vacatur of Protective Order Dkt 66. Furthermore, because Walmart’s Reply failed to address

Plaintiff’s controlling arguments while injecting improper new issues, the Court should have stricken

Walmart’s Reply (Dkt. 65) before ruling, and its failure to do so further supports vacatur of Dkt. 66.




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                                      III. ARGUMENT


A. The Court s Reliance on Walmart s Misrepresentation Regarding Initial Disclosures

Violated Local Rule CV-7(f) and Plaintiff’s Due Process Rights, Supporting Vacatur of

Did. 66


In Dkt. 66, the Court relied on Walmart s representations in Dkt. 65 when it stated: Walmart served

its initial disclosures, see Dkt. 65-2 at 2, and implicitly accepted Walmart s narrative that Plaintiff

was uncooperative and failed to clarify alleged misstatements. In Dkt. 65, Walmart asserted:


        After reviewing Plaintiff s Response, Walmart’s counsel reminded Plaintiff via email that
       Walmart had served initial disclosures and produced documents in this lawsuit. See Exhibit
       A-3. Plaintiff has not responded to this email or clarified the misstatements in his Response.

The Court accepted this NEW representation as true without examining the procedural history

demonstrating that Plaintiff had, in fact, responded with a detailed June 10, 2025 letter seeking

clarification regarding the June 9, 2025 document dump as it did not say Supplemental Initial

Disclosure or Rule 34 RFP (See Dkt 65-3, Page ID 1015) and Plaintiff had previously objected to any

purported future supplemental initial disclosures in Dkt. 62, filed on May 5, 2025.


Walmart’s argument in Dkt. 65 introduced a new factual and legal narrative, claiming that its June 9,

2025 document dump constituted part of its initial disclosures. This was never indicated in the

transmission itself, which lacked any labeling as a Rule 26 supplemental initial disclosure (Dkt 65,

Exhibit A-3, Page ID 1015), was unaccompanied by Rule 26(g) certification, and was transmitted

without a privilege log. Internally, Walmart made clear its intent to condition production on protective

order relief, stating: We/Walmart are continuing to evaluate whether there are any other



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non-confidential documents that can be produced before a protective order is entered. (Dkt. 65-3).

This demonstrated that Walmart was leveraging the protective order process as a precondition for

fulfilling its Rule 26(a) and Rule 34 obligations, contrary to law.


Crucially, Plaintiff s Response (Dkt. 64) did not reference or address the June 9, 2025 document

dump because it lacked any clear designation as a supplemental initial disclosure. Thus, Walmart s

argument was a new argument improperly raised for the first time in its Reply, in violation of

Local Rule CV-7(f), which expressly limits replies to responding to issues raised in the response and

prohibits the introduction of new factual and legal theories that deprive the non-moving party of the

right to address them before the Court rules.


By accepting Walmart’s misrepresentation without scrutiny, the Court ruled on purported facts that

Plaintiff had no meaningful opportunity to contest, violating Plaintiff’s due process rights under the

Fifth Amendment. Mullcine v. Central Ha over Bank & Tr st Co., 339 U.S. 306, 314 (1950), and

Nelson v. Adams USA, Inc., 529 U.S. 460, 466 (2000) establish that parties are entitled to notice and a

meaningful opportunity to respond before a court takes action affecting their substantive rights. Here,

the Court’s reliance on Walmart’s procedurally improper assertions presented in viol tion of Local

Rule CV-7(f) without providing Plaintiff an opportunity to address these assertions directly

impacted the Court’s issuance of Dkt. 66 and imposed protective restrictions under materially

incomplete and inaccurate premises.



On June 10, 2025, Plaintiff sent a formal written objection and clarification request regarding

Walmart’s June 9 document production, titled Formal Objection and Clarification Request

Regarding Walmart’s June 9, 2025 Document Production Under Rule 34. This letter, addressed to



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lead counsel Peter Wahby, outlined Plaintiff s concerns in detail, explaining that the June 9

production was improperly labeled, unaccompanied by Rule 26(g) certification, and appeared to

relate to Plaintiff s pending Request for Production rather than any valid supplement l initial

disclosure. Plaintiff specifically requested clarification on the procedural basis, certification, and

authenticity of the June 9 production. Walmart acknowledged receipt, yet chose to respond on June

17, 2025 through junior associate Holmes Hampton, rather than the certifying atto ney, violating the

chain of accountability required for effective meet-and-confer compliance.


Importantly, Plaintiff had no obligation to provide further clarifications. On May 5, 2025, Plaintiff

filed Dkt. 62, explicitly objecting in writing to any future “Supplemental Initial Disclosure by

Walmart, stating: “Plaintiff respectfully OBJECTS Defendant s future Supplemental Initial

Disclosure, if any, pursuant to FRCP 26(a)(I)(A)(ii). Under Rule 26(a) and Rule 37(c)(1), once

Plaintiff objected in writing, Plaintiff had no further obligation to accept, respond to, or clarify

subsequent purported supplemental initial disclosures. The Federal Rules do not require repeated

objections or clarifications once the objection is on the record when the opposing party attempts to

circumvent those objections through improper or untimely productions.


Despite these facts, Walmart falsely represented in Dkt. 65 that: Plaintiff has not responded to

this email or clarified the misstatements in his Response. This misrepresentation omitted material

facts: (1) Plaintiff s June 10 letter explicitly requested clarification, fulfilling Plaintiff’s duty to

confer; (2) Plaintiff s prior objection in Dkt. 62 rendered further clarification unnecessary; and

(3) Walmart’s June 17 response acknowledged receipt of Plaintiff’s June 10 letter, demonstrating the

falsity of Walmart’s claim. Walmart s misrepresentation misled the Court into believing that




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Plaintiff was refusing to participate in ood faith, directly influencing the Court s perception of

Plaintiff s litigation conduct and undermining Plaintiff’s credibility.


The Court s reliance on Walmart s misrepresentation materially affected its issuance of Dkt. 66,

resulting in protective restrictions imposed on Plaintiff without the benefit of a full nd accurate

record. The Fifth Amendment guarantees due process, requiring notice and a meaningful opportunity

to respond before adverse judicial action is imposed. Plaintiff was deprived of a f ir opportunity to

address Walmart’s misrepresentation before the Court ruled, which prevented Plaintiff from

challenging Walmart’s protective order request on a truthful and complete record, while Plaintiff’s

objections to Walmart’s discovery misconduct remained unresolved.


Fraud upon the court occurs when a party engages in intentional conduct calculated to deceive the

court and interfere with the court’s ability to impartially adjudicate the matter. Wilson v.

Johns-Ma ville Sales Corp., 873 F.2d 869, 872 (Sth Cir. 1989). Walmart’s false claim that Plaintiff

 failed to clarify misstatements, despite knowing Plaintiff’s June 10 letter was on record and in light

of Pl intiff’s May 2, 2025 Dkt. 62 objection, constitutes intentional conduct designed to deceive

the Court regarding Plaintiff’s litigation posture. This misrepresentation directly influenced the

Court’s findings regarding the appropriateness of granting protective relief, interfered with the

Court’s impartial adjudication of the protective order motion, and resulted in a protective order that

would not have been issued had the Court been fully informed. Under Hazel-Atlas Glass Co. v.

Hartford-Empire Co., 322 U.S. 238, 246 (1944), fraud upon the court justifies vacatur of orders

obtained through misrepresentation.




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Accordingly, Walmart s false claim that Plaintiff failed to clarif misstatements, made knowingly

while ignoring Plaintiff s formal clarification and prior objections, constitutes fraud upon the court

and a due process violation that directly tainted the issuance of Dkt. 66. The Protective Order should

be vacated under Rule 60(b)(3) (fraud/misrepresentation) and Rule 60(b)(4) (due process violation) to

protect the integrity of the judicial process and remedy the prejudice Plaintiff has suffered due to

Walmart s intentional misrepresentations.




B. The Court s Reliance on Walmart s Misrepresentations to Misapply Dkt. 60 Violated
Rule 26(c), Plaintiff’s Due Process Rights, and Created an Appearance of Impropriety

In Dkt. 66, the Court stated, First, Jana misunderstands the court s order, and adopted Walmart’s

misleading narrative from Dkt. 65 that



       Plaintiff seems to have misinterpreted the Court s Order entered May 1, 2025 (Dkt. 60).
       Walmart would not have filed the renewed Motion had it believed such an action would
       contravene or violate any order of the Court.

This framing was factually and legally incorrect, misrepresenting the controlling procedural and legal

framework established in Local Rule 7(f), Dkt. 60 and Fifth Circuit precedent, and thereby requiring

vacatur.




Dkt. 60, issued by Hon. Judge Bill Davis on May 1, 2025, explicitly stated that


        Any such request [for protective order] should be specific... When the Rule 26(c)(1)
       standard has been satisfied, a protective order may properly prohibit dissemination of
       sensitive information to people not involved in the lawsuit without infringing on the right of
       any party to the lawsuit here, Jana and Walmart to review documents exchanged in
       discovery that are relevant to a party’s claim or defense.




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This language embodies the exchange first, protect second rule, requiring document exchange and

meaningful disclosure before protective restrictions are imposed. This principle is firmly established

in In re Terra Int l, Inc., 134 F.3d 302, 306 (Sth Cir. 1998) requiring a particular and specific

demonstration of fact, as distinguished from stereotyped and conclusory statements, Le v. Exeter Fin.

Corp., 990 F.3d 410, 419 (Sth Cir. 2021) requiring document-by-document justification for

restrictions on disclosure. Despite this clear legal framework, Walmart s conduct directly contradicted

Local Rule 7(f), Dkt. 60 and Rule 26(c). Walmart s April 7, 2025 Initial Disclosure produced zero

documents, zero ESI, and no privilege log (Dkt 70, EXHIBIT A-l). In its April 28, 2025 RFP

response, Walmart withheld all documents while asserting blanket objections. Walmart’s June 9, 2025

document dump occurred after it filed its renewed protective order motion on June 3, 2025, and was

improperly characterized as initial disclosures for the first time in Walmart’s Reply in Dkt. 65,

violating Local Rule CV-7(f) and lacking Rule 26(g) certification. Walmart explicitly stated,

 We/Walmart are continuing to evaluate whether there are any other non-confidential documents that

can be produced before a protective order is entered (June 9, 2025 email, Dkt. 65-3), demonstrating

its strategy of conditioning document production on securing protective relief, in direct violation of

Dkt. 60.


The Court’s order in Dkt. 66 echoed Walmart’s misrepresentation by stating,


       “First, Jana misunderstands the court’s order... The protective order Walmart seeks would
       protect against that type of disclosure, but Jana would still be able to obtain confidential
       documents in discovery for use in this case.

This framing disregarded the procedural sequence required by Dkt. 60 and Fifth Circuit precedent,

ignoring Walmart’s failure to produce documents before seeking protective relief and misrepresenting




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Plaintiff s position. Plaintiff s argument was not that protective orders render documents

 undiscoverable, but rather that protective relief cannot precede document production and

meaningful review, consistent with Dkt. 60 and controlling law.


Plaintiff’s Response (Dkt. 64) accurately explained:


         Exchange first, protect second... Walmart preemptively sought blanket protection despite
        producing zero documents, without first identifying, producing, or reviewing documents with
        Plaintiff and thus violated both the letter and spirit of Dkt. 60...

By disregarding this record and adopting Walmart s false narrative, the Court misapplied the law,

resulting in the imposition of protective restrictions while denying Plaintiff the opportunity to review

and challenge confidentiality claims in accordance with Rule 26(c) and Fifth Circuit precedent.


This misapplication of law constitutes a violation of Plaintiff’s due process rights under the Fifth

Amendment and Mathews v. Eldridge, 424 U.S. 319, 333 (1976), which guarantees a meaningful

opportunity to be heard before adverse judicial action is taken. The Court’s acceptance of Walmart’s

misrepresentations without addressing Plaintiff’s controlling legal arguments and record evidence

deprived Plaintiff of a fair and transparent discovery process and the right to contest Walmart s

confidentiality claims before protective restrictions were imposed.


These circumstances also constitute fraud upon the court under Hazel-Atlas Glass Co. v.

Hartford-Empire Co., 322 U.S. 238, 246 (1944) and Wilson v. Johns-Manville Sales Corp., 873 F.2d

 869, 872 (Sth Cir. 1989), as Walmart s misrepresentations obstructed the Court’s ability to impartially

adjudicate the motion for protective relief. Further, under 28 U.S.C. § 455(a) and Liljeberg v. Health

Servs. Acquisition Corp., 486 U.S. 847, 864-65 (1988), the Court’s uncritical adoption of Walmart’s




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false narrative and misinterpretation of Dkt. 60 created an appearance of impropriety requiring

vacatur to preserve public confidence in the impartial administration of justice.


In conclusion, Plaintiff did not misunderstand Dkt. 60. Walmart s conduct violated Dkt. 60, Rule

26(c), Local Rule 7(f) and controlling Fifth Circuit precedent, while the Court s misapplication of

these authorities resulted in the wrongful issuance of Dkt. 66 based on misleading representations.

This constitutes (i) fraud upon the court, (ii) clear legal error under Rule 60(b)(1), (hi) a void order

due to due process violations under Rule 60(b)(4), (iv) extraordinary circumstances under Rule

60(b)(6), and (v) an appearance of impropriety requiring vacatur. Accordingly, Plaintiff respectfully

requests that the Court vacate Dkt. 66 in its entirety to protect the integrity of these proceedings and

uphold the rule of law.



C. The Court s Misstatement Regarding Pending Discovery, Initial Disclosures, and
Privilege Log Warrants Vacatur


In Dkt. 66, the Court stated,


        ''Second Jana’s argument that he has no pending discovery requests and that Walmart has not
        served its initial disclosures or a privilege log is not well taken. Jana served Walmart with
        discoveiy requests, see Dkt. 63-3, and Walmart served its initial disclosures, see Dkt. 65-2 at
        2. And although Walmart has yet to serve its privilege log, it is in the process of doing so.

This statement reflects clear factual and legal error that requires vacatur under Rules 60(b)(1),

60(b)(4), and 60(b)(6).


First, regarding pending discovery requests, Plaintiff explicitly argued in Dkt. 64 ( 14-17) that

while Plaintiff served Rule 34 Requests for Production on March 28, 2025, and Walmart responded

 on April 28, 2025, with blanket objections producing zero documents, Plaintiff deliberately refrained


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from serving further discovery requests. This was because Walmart explicitly stated it would only

 produce non-privileged documents after the Court s entry of a protective order and refused to

produce documents while withholding a privilege log. Plaintiff did not file a motion to compel for

Rule 34 RFP, and the discovery dispute was effectively closed unless reopened by motion practice.

Responding to Plaintiff s Rule 33 Interrogatory does not need any Protective Order, no confidential

information was asked.


Under In re Terra Int l, Inc., 134 F.3d 302, 306 (Sth Cir. 1998), protective relief under Rule 26(c)

requires an actual, pending discovery request; absent pending discovery, requests for protection are

speculative and procedurally improper. By equating Plaintiff’s past requests already objected to and

responded to with pending, unresolved discovery disputes, the Court disregarded this procedural

prerequisite and allowed Walmart to secure protective relief without a valid procedural foundation.


Second, regarding initial disclosures, the Court incorrectly stated that Walmart served its initial

disclosures. While on the face, this statement is true but in the context of Protective Order this initial

disclosure was empty, incomplete and evasive. Walmart’s April 7, 2025 “Initial Disclosure

(EXHIBIT A-l, Dkt. 70) produced zero documents, zero ESI, and no privilege log, in clear violation

of Rule 26(a)( 1 )(A)(ii), which requires the disclosure or description of all documents a party may use

to support its claims or defenses. Plaintiff objected on May 5, 2025 (Dkt. 62) and reiterated these

objections in Dkt. 64 ( 29-31), explicitly preserving Plaintiff’s challenge to Walmart’s

noncompliance. The Fifth Circuit’s In re Terra and Le v. Exeter require that protective relief be

conditioned on actual document exchange prior to the imposition of restrictions, not on the mere

procedural act of serving an empty disclosure. The Court’s acceptance of Walmart’s conclusory claim




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of compliance, while ignoring the substance of these objections and Walmart s failure to produce any

documents, constituted legal error.



Third, regarding the privilege lo , the Court erred by stating that Walmart s promise to provide a

privilege log in the process satisfied its obligations. Rule 26(b)(5)(A) requires that a privilege log

be provided contemporaneously when documents are withheld, describing the nature of the

documents to enable the opposing party to assess the claim. Walmart failed to produce any privilege

log with its April 7, 2025 initial disclosures or with its April 28, 2025 objections, while continuing to

withhold responsive documents under a claim of privilege. Courts have consistently held that failure

to produce a privilege log or to make a timely objection results in waiver of the privilege. See United

States v. Philip Morris Inc., 347 F.3d 951, 954-55 (D.C. Cir. 2003); Fisher v. National R.R.

Passenger Corp., 152 F.R.D. 145, 149 (S.D. Ind. 1993). By treating Walmart’s vague, unsworn

promise of a future privilege log as sufficient, the Court deprived Plaintiff of the opportunity to test

privilege claims and contest withholding before protective restrictions were imposed.


These errors collectively deprived Plaintiff of due process by denying the right to meaningfully

participate in the discovery process before restrictions were imposed, contrary to the Fifth

Amendment and Mathews v. Eldridge, 424 U.S. 319, 333 (1976). The Court’s misstatements allowed

 Walmart to secure protective relief while noncompliant with Rule 26(a) and (b), violating procedural

 safeguards designed to protect fairness in discovery.


These errors constitute clear legal error under Rule 60(b)(1), render Dkt. 66 VOID under Rule

 60(b)(4) for lack of procedural foundation and due process violations, and present exceptional

 circumstances under Rule 60(b)(6) warranting vacatur to preserve the integrity of the judicial



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process. Protective restrictions should not have been imposed where Walmart failed to demonstrate a

valid procedural basis, failed to comply with disclosure and privilege requirements, and sought relief

absent a pending discovery dispute.


For these reasons, Plaintiff respectfully requests that the Court VACATE Dkt. 66 in its entirety to

restore adherence to Rule 26 and Local Rules protect Plaintiff s procedural and substantive rights,

and preserve confidence in the fair administration of justice.




D. The Court s Misinterpretation of Le v. Exeter and Rule 26(c) Standards, and

Appearance of Impropriety


In Dkt. 66, the Court stated:



 Third, Jana argues that Walmart failed to show good cause because it did not satisfy the Fifth
Circuit’s standard for sealing. See Le v. Exeter Fin. Corp., 990 F.3d 410, 417-21 (Sth Cir. 2021). But
Walmart does not presently seek to seal any documents, so that standard does not apply at this point.

Respectfully, this statement reflects a material misinterpretation of Le v. Exeter, the applicable Fifth

Circuit standards under Rule 26(c), and the prior controlling Order of this Court (Dkt. 60). It also

creates an appearance of impropriety requiring vacatur of Dkt. 66.


Plaintiff did not argue that Walmart was seeking to seal filings; rather, Plaintiff argued that the Fifth

Circuit’s Le v. Exeter decision governs protective orders under Rule 26(c) because such orders also

restrict disclosure of materials relevant to the parties’ claims and defenses, which may become part of

the judicial record. Le requires transparency, narrow tailoring of confidentiality restrictions, and a




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 case-by-case, document-by-document, line-by-line review before restricting disclosure. These


principles apply equally to protective orders, which, if issued without individualized justification,

enable parties to obstruct the transparency and accountability the Fifth Circuit demands. Plaintiff s

Response (Dkt. 64) specifically explained this by citing Dkt. 60, which incorporated Le and

emphasized the right of both Plaintiff and Walmart to review documents exchanged in discovery that

are relevant to a party s claim or defense. There were no documents to review in the first place.



The Fifth Circuit in Le held that the public’s right of access to judicial records is a fundamental

element of the rule of law, requiring district courts to conduct individualized,

document-by-document analysis when evaluating confidentiality restrictions. This transparency

requirement applies to protective orders under Rule 26(c), as affirmed in In re Terra Int l, I c.,

 134 F.3d 302, 306 (5th Cir. 1998), which requires a “particular and specific demonstration of fact

rather than blanket, conclusory statements. These requirements protect the public’s right of access, the

integrity of discovery, and the parties’ due process rights in litigation.


Court’s own Order Dkt. 60 explicitly incorporated these transparency requirements, ordering that

“any protective order sought under Rule 26(c)(1) must be specific and comply with Fifth Circuit

precedent, while ensuring that Plaintiff s rights to review documents relevant to claims or defenses

would not be infringed. This language confirms that Le was controlling when assessing Walmart s

 renewed motion for protective relief and the Court’s decision in Dkt. 66. Despite these clear legal

standards, Walmart filed its renewed motion for protective relief (Dkt. 63) as a blanket, preemptive

 request, without first producing any documents, without providing a privilege log, and without

demonstrating document-by-document justification for confidentiality. Walmart conditioned




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production on obtaining protective relief, reversing the lawful order of exchange first, protect

second. Walmart s assertions were conclusory and speculative, lacking the individualized, fact-based

demonstration that Le and Terra require, and directly contradicting the instructions set forth by this

Court in Dkt. 60. By dismissing Plaintiff s argument under Le on the mistaken belief that Ze applies

only to sealing, the Court failed to enforce Fifth Circuit requirements that apply equally to protective

orders and sealing orders. This misinterpretation allowed Walmart to obtain protective restrictions

while withholding documents, depriving Plaintiff of the opportunity to review materials and

meaningfully challenge claims of confidentiality before restrictions were imposed. This deprived

Plaintiff of due process, as the Fifth Circuit in Le and Terra requires judicial accountability when

restricting disclosure and emphasizes the judiciary’s “non-delegable duty to protect transparency.


The Court’s misinterpretation created an appearance of impropriety by adopting Walmart’s

mischaracterization of Le while ignoring Plaintiff s clear arguments and controlling law. It accepted

 Walmart’s narrative despite the record showing Walmart failed to comply with its disclosure

obligations and violated Dkt. 60’s explicit requirements. The Supreme Court in Liljeberg v. Health

Servs. Acq isition Corp., 486 U.S. 847, 864-65 (1988), held that an appearance of partiality

 requiring vacatur arises where judicial actions create reasonable doubt about impartiality.

Here, the Court’s uncritical acceptance of Walmart’s misrepresentations and its misapplication of

 controlling law undermine confidence in the integrity of these p oceedings.


 Accordingly, the Court s statement that Le v. Exeter does not apply at this point was le ally

 incorrect, and its failure to apply the Fifth Circuit’s transparency principles to protective orders under

 Rule 26(c) constitutes clear legal error and a due process violation. Walmart’s blanket, speculative




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motion filed without prior document exchange or individualized justification failed to meet the

requirements of Rule 26(c), Fifth Circuit precedent, and Dkt. 60. The Court s misinterpretation and

improper issuance of Dkt. 66 under these circumstances require vacatur under Rules 54(b), 60(b)(1),

60(b)(4), and 60(b)(6) to preserve due process, uphold the rule of law, and maintain confidence in

judicial impartiality. Plaintiff therefore respectfully requests that Dkt. 66 be vacated in its entirety.




     E. The Court s Misstatement on Pending Discovery and Protective Orders


In Dkt. 66, the Court stated,


 Fourth, even if Wal-Mart’s discovery responses are incomplete, see Dkt. 64-2 at 2, that does not
mean that the court should not issue a protective order. Jana may continue to pursue complete
responses to his discovery requests.

This statement reflects a material misapplication of Rule 26(c), misinterprets controlling Fifth Circuit

precedent, denies Plaintiff due process, and creates an appearance of impropriety that requires

vacatur.




Rule 26(c) explicitly requires that a protective order be sought in response to a pendin ,

concrete discovery request. The rule states:



 A party or any person from hom discovery is sought may move for a protective order...



This language presumes the existence of an actual, active discovery demand necessitating protection,

not hypothetical or speculative harm. Courts have uniformly held that protective orders require a



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pending discovery request. The Fifth Circuit in In re Terra Ini I, Inc., 134 F.3d 302, 306 (5th Cir.

1998), confirmed that Rule 26(c)'s requirement of a showing of good cause to obtain a protective

order contemplates the existence of an actual, pending discovery request. Likewise, in Cipollone v.

Liggett Gro p, Inc., 785 F.2d 1108, 1121 (3d Cir. 1986), the court held that absent pending discovery,

claims of potential harm are speculative, and protective orders are not appropriate. S.E.C. v.


TheStreet.com, 273 F.3d 222, 229 (2d Cir. 2001), further emphasized that protective orders must

protect against actual, document-specific harms arising from a particular discovery demand not

theoretical risks.


Here, Plaintiff demonstrated in Dkt. 64 that no pending discovery requests required protection at the

time Walmart filed its renewed motion or when the Court issued Dkt. 66. Plaintiff s last discovery

requests were served on March 28, 2025, and Walmart responded on April 28, 2025, with blanket

objections while producing zero documents. Walmart then stated it would produce non-privileged

documents only after securing a protective order. Recognizing Walmart s noncompliance. Plaintiff

deliberately refrained from serving f rther discovery to avoid procedural entanglement until the issue

of Walmart s improper withholding was resolved. Therefore, no pending, active Rule 34 RFP

discovery request existed to trigger Rule 26(c) protection. Answering Rule 33 Interrogatories does

not require any protection as interrogatory did not ask for confidential information. On June 11, 2025

Walmart acknowledged, Please let us know whether you intend to serve Interrogatories that are

amended to address Walmart s objections. and Plaintiff did not serve any more Interrogatories.


The Court’s assertion that Walmart’s incomplete discovery does not preclude the issuance of a

protective order inverts the structure of Rule 26(c) and federal discovery principles. By granting




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protective relief absent a pending discovery request, the Court improperly authorized preemptive

secrecy and undermined the exchange first, protect second principle established by In re Terra and

Le v. Exeter Fi . Corp., 990 F.3d 410 (Sth Cir. 2021). This approach rewarded Walmart s refusal to

comply with Rule 26(a) and Rule 26(b)(5) obligations.


Further, granting protective restrictions without a pending discovery request denied Plaintiff due

process. Protective orders restrict a party s right to analyze, use, and disseminate discovery materials,

and imposing such restrictions without allowing Plaintiff to challenge confidentiality claims on a

document-by-document basis violates procedural fairness and transparency. As recognized in


Mathews v. Eldridge, 424 U.S. 319, 333 (1976), due pi •ocess requires notice and a meaningful

opportunity to be heard before imposing restrictions that affect substantive rights.


Additionally, the Court s acceptance of Walmart s conclusory assertions and its issuance of

protective relief in the absence of a pending discovery request creates an appearance of

impropriety, warranting vacatur. Under Liljeberg v. Health Servs. Acq isition Corp., 486 U.S. 847,

 864-65 (1988), and United States v. Jordan, 49 F.3d 152, 155 (Sth Cir. 1995), an appearance of

partiality requiring vacatur arises when judicial actions create reasonable doubt regarding the

impartial administration of justice. Here, the Court’s ruling suggested uncritical acceptance of

Walmart’s position while ignoring Plaintiff’s factual showing of procedural noncompliance,

thereby undermining confidence in the integrity of these proceedings.


Accordingly, the Court’s misstatement in Dkt. 66 constitutes clear legal error under Rule 60(b)(1),

a due process violation under Rule 60(b)(4), and presents extraordinary circumstances under

 Rule 60(b)(6) warranting vacatur. To protect the integrity of the judicial process, preserve Plaintiff s



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rights under Rule 26, and maintain confidence in the fair administration of justice, Plaintiff

respectfully requests that Dkt. 66 be VACATED in its entirety.



F. Violation of Court s Own Previous Ruling and Fifth Circuit Precedent Warrants
Vacatur


On May 1, 2025, the Court issued Dkt. 60, denying Walmart s first motion for a protective order (Dkt.

51) and establishing clear, binding conditions for any future protective order request under Rule

26(c)(1). The Court explicitly ordered that any renewed request must be specific, must comply with

Fifth Circuit precedent, and


         must not infringe on the right of any party to the lawsuit here, Jana and Walmart to
        review documents exchanged in discovery that are relevant to a party s claim or defense.

This directive reflects the exchange first, protect second principle mandated by In re Terra Int’l,

Inc., 134 F.3d 302, 306 (5th Cir. 1998), and Le v. Exeter Finance Corp., 990 F.3d 410, 419 (Sth Cir.

2021), requiring that parties exchange discovery materials before seeking protective restrictions and

that any protective request be justified on a document-by-document basis.


Despite these clear requirements, Walmart filed its renewed motion for a protective order on June 3,

2025 (Dkt. 63), without having exchanged any documents with Plaintiff and without identifying any

 specific documents requiring protection. Walmart’s April 7, 2025 “Initial Disclosure contained zero

 documents, zero ESI, and no privilege log. Walmart further explicitly conditioned any document

production on securing protective relief, stating it would only produce documents “after the Court’s

 entry of a protective order. At the time it filed Dkt. 63, Walmart was in total noncompliance with

 Dkt. 60 and its Rule 26(a)(l)(A)(ii) disclosure obligations while improperly seeking blanket

 protective relief to block discovery.


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Walmart s arguments in Dkt. 63 simply repeated generalized assertions made in its first motion,

claiming that Plaintiff’s discovery requests sought confidential employee, vendor, and business

information. However, Walmart failed to identify specific documents, failed to provide a privilege

log, and failed to demonstrate any particular and specific demonstration of fact as required under

Terra and Le. Dkt 63


          Specifically, Plaintiff’s discovery requests seek confidential information in Walmart’s
        employment personnel records regarding not only Plaintiff but also nonparties, including
        information related to the employees’ training, changes in roles and responsibilities,
        compensation, hiring, termination, disciplinary records, ethics complaints, and investigative
        reports. (See Exhibit B-l, Interrogatory Nos. 5, 6, 8, 9, 10, 11, 12, 15, 16, 24 & RFP Nos. 4, 5,
        7, 9, 12, 13, 14, 15, 16, 17, 23.) Plaintiff also requests multiple categories of confidential
        commercial and financial information from Walmart, including Walmart’s business, strategic,
        financial, and operating information related to its vendor selection process and transactions,
        bids, and contracts with vendors.

As Plaintiff argued in Dkt. 64 Walmart:


       “..failed to identify which documents are allegedly confidential, despite having produced
       no privilege log and no discovery materials whatsoever..

 Despite this, on June 27, 2025, the Court issued Dkt. 66, granting Walmart’s renewed protective order

 and stating:


       “Walmart identifies several interrogatories and requests for production served by Jana
       that seek confidential information about its employees. Dkt. 63. It claims that revealing
       that information could hurt those employees’ job prospects and Walmart’s reputation for
       keeping such information confidential.

 This acceptance of Walmart’s abstract, speculative assertions ignored the controlling requirement that

 protective orders may not be granted without the party first producing or identifying the specific

 documents at issue and providing a factual basis for confidentiality on a document-by-document

 basis. The Fifth Circuit has consistently held that blanket, conclusory assertions of confidentiality are



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 insufficient, and the moving party bears the burden of showing necessity with a particular and

 specific demonstration of fact. Terra, 134 F.3d at 306.



 Walmart s conduct in conditioning production on protective relief reversed the lawful order of

 discovery, seeking secrecy over documents Plaintiff had not even been permitted to review. The

  exchange first, protect second rule is a fundamental procedural safeguard to ensure fairness and

transparency in discovery. Wal art s June 9, 2025 document dump, made after it filed Dkt. 63,

 cannot retroactively cure this procedural defect because compliance must be assessed at the

time protective relief is sought. Moreover, Plaintiff s Objection for future Supplemental Initial

Disclosure on May 2, 2025 (Dkt 62) makes this document dump irrelevant in this context.


By granting Dkt. 66 under these circumstances, the Court failed to enforce its own prior order (Dkt.

60), Fifth Circuit precedent, and the procedural prerequisites for protective relief, constituting clear

legal error under Rule 60(b)(1) and a due process violation under Rule 60(b)(4). This situation also

presents exceptional circumstances under Rule 60(b)(6) requiring relief to preserve judicial integrity

and the rule of law.



In sum, Dkt. 66 should be vacated because Walmart s motion for protective relief was procedurally

improper when filed, the Court’s order was issued in direct violation of its prior instructions (Dkt 60)

and controlling law. Vacatur is necessary to enforce the exchange first, protect second principle,

protect Plaintiff’s rights to review and challenge confidentiality designations before restrictions are

imposed, and preserve confidence in the fair administration of justice.



G. Fraud Upon the Court and Due Process Violations: The Court’s Handling of
Walmart s New Ar ument and Milbourne’s Declaration Warrants Vacatur


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In Dkt. 66, the Court stated:

       Fifth, Jana attempts to discredit the declaration of Adrian Milbourne by submitting his
      own affidavits, and he asks the court to strike Milbourne s declaration. The court
      considered Jana s statements when weighing Milbourne’s credibility.

This statement followed Walmart s reply (Dkt. 65), which introduced a new, procedurally improper

argument:



       In his a fidavit of impeachment, Plaintiff also seems to claim that Walmart’s responses
      to Plaintiff’s Interrogatories are inconsistent with certain statements in the Milbourne
      declaration. However, Walmart did not provide substantive answers to any of
      Plaintiff s Interro atories and instead raised specific objections to each of them, so
      the Milbourne declaration could not be inconsistent with Walmart s responses to
      the Interrogatories...


    1. Local Rule CV-7(f) Violation

Under Local Rule CV-7(f), a reply brief may only respond to issues raised in the response and may

not introduce new arguments for the first time without leave of court. Plaintiff’s Response (Dkt. 64)

did not assert that Walmart’s objections to interrogatories shielded Milbourne from impeachment;

instead, it argued that Milbourne’s sworn statements contained materially false statements that

directly contradicted Walmart’s litigation positions, evidence, and internal documents.


Walmart’s argument in Dkt. 65, claiming its refusal to answer interrogatories shielded Milbourne

from impeachment, was a new factual nd legal theory not raised in its Motion for Protective Order

(Dkt. 63) and was improperly raised in a reply. The Court’s acceptance of this argument without

providing Plaintiff an opportunity to respond violated Local Rule CV-7(f) and denied Plaintiff a fair

procedural opportunity to address the argument.



    2. Due Process Violation




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Under M llcme v. Central Hanover Bank & Trust Co., 339 U.S. 306, 314 (1950), and Nelson v. Adams

USA, Inc., 529 U.S. 460, 466 (2000), procedural due process requires notice and an opportunity to

respond before a court takes judicial action affecting substantive rights. Walmart s new argument

directly influenced the Court s decision to credit Milbourne’s declar tion and deny Plaintif ’s request

to strike or disregard it. Plaintif was not provided any opportunity to address this argument before the

Court ruled, constituting a violation of due process warranting vacatur of Dkt. 66.




    3. Substantive Refutation: Shield/Sword Misuse

Even if Walmart’s argument were considered on the merits, it fails. Walmart cannot refuse to answer

interrogatories and then shield its declarant from impeachment when the declarant voluntarily

submits a sworn declaration on the same factual matters. By submitting the Milbourne declaration

(Dkt. 63-5) to support its protective order, Walmart placed at issue the precise topics it previously

refused to address under oath. The Fifth Circuit prohibits the use of discovery objections as both a

 shield and a sword. See EEOC v. Simbaki, Ltd., 767 F.3d 475, 485 (Sth Cir. 2014)-A party cannot use

the discovery process to its advantage while simultaneously obstructing the adversary’s ef orts.

 Walmart’s position is legally baseless and constitutes obstructive litigation tactics designed to shield

 its declarant from accountability while leveraging the declaration to secure protective relief.



    4. Fraud Upon the Court by Milbourne s Declaration

 Plaintiff did not simply attempt to discredit Milbourne’s declaration. Plaintif submitted two sworn

 affidavits under 28 U.S.C. § 1746 (1-17 and 1-21), with exhibits and recordings, demonstrating that




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Milbourne s June 3, 2025 declaration contained false, misleading, and inconsistent statements

contradicting:


    • Walmart’s sworn discovery positions and objections under Rules 33 and 26(g).

    • Recorded statements and documents demonstrating the declaration s factual inaccuracies.


These affidavits constitute evidence of fraud upon the Court under Hazel-Atlas Glass Co. v.

 Hartford-Empire Co., 322 U.S. 238, 246 (1944), and Wilso v. Jolms-Manville Sales Corp., 873 F.2d

 869, 872 (Sth Cir. 1989), which define fraud upon the court to include false or misleading testimony

that directly impacts the judicial process.


 By relying on Milbourne’s declaration without allowing examination under oath while

 simultaneously ignoring Plaintiff s impeachment evidence, Walmart used the declaration as both a

 s ord and a shield to secure protective relief while blocking Plaintiff from rebutting its contents,

 which is precisely the type of conduct that constitutes fraud upon the Court and warrants vacatur

 under Rule 60(b)(3).


    5. The Court s Insufficient Wei hed Credibility Approach

 The Court’s statement that it considered Jana’s statements when weighing Milbourne’s credibility is

 legally and procedurally insufficient. It fails to:


     • Address the fraud upon the Court concerns that require heightened scrutiny.

     • Consider the prejudice to Plaintiff, who could not examine Milbourne on his claims before the

         Court imposed protective restrictions.




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    • Recognize the impropriety of using a declaration to obtain protective relief while refusing

        discovery on the same issues.



Under Chambers v. NASCO, Inc., 501 U.S. 32, 46 (1991), courts have the authority to strike filings

and impose sanctions when parties submit false or misleading statements to gain litigation

advantages. The Court s failure to address this standard while relying on Milbourne s contested

declaration deprived Plaintiff of a fair process and violated the Court s duty to protect the integrity of

its proceedings.



    6. Appearance of Impropriety

The Court s doption of Walmart s new argument without scrutiny and its reliance on Milbourne’s

declaration despite clear evidence of contradictions and obstruction creates an appearance of

impropriety under 28 U.S.C. § 455(a), Liljeberg v. Health Servs. Acquisitio Corp., 486 U.S. 847,

 864-65 (1988), and United States v. Jorda , 49 F.3d 152, 155 (Sth Cir. 1995). This undermines public

confidence in judicial impartiality and warrants vacatur of Dkt. 66 to preserve the integrity of these

proceedings.



    7. Grounds for Vacatur

For the reasons stated above, the Court’s handling of Walmart’s procedurally improper argument and

the Milbourne declaration:


 (i) Violated Local Rule CV-7(f) by considering a new argument improperly raised in a reply.

 (ii) Deprived Plaintiff of procedural due process by denying a meaningful opportunity to respond.

 (iii) Allowed Walmart to misuse discovery objections while leveraging contested declarations.




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(iv) Created an appearance of impropriety undermining public confidence in these proceedings.

(v) Constituted fraud upon the Court warranting relief under Rule 60(b)(3) and ule 60(b)(6).


Accordingly, Plaintiff respectfully requests that the Court vacate Dkt. 66 in its entirety, strike or

disregard Milbourne s declaration, and protect the integrity of these proceedings.



H. Walmart s Reply (Dkt. 65) Failed to Address Critical Issues, Introduced New Arguments,

Warrantin Vacatur of Dkt. 66


Local Rule CV-7(f) expressly limits a reply to responding to the issues raised in the response,

prohibiting the introduction of new arguments that deprive the opposing party of the opportunity to

address them. Courts in the Fifth Circuit have repeatedly held that arguments raised for the first time

in a reply should be disregarded to protect due process and procedural fairness. Walmart’s Reply

(Dkt. 65) violated these principles by failing to address the critical issues raised in Plaintiff’s

 Response (Dkt. 64), including: (i) Walmart’s violation of the Court’s May 1,2025 Order (Dkt. 60)

 requiring document exchange before seeking protective relief, (ii) Walmart’s failure to produce a

 privilege log before seeking protection, waiving any claim of privilege, (iii) controlling case law

 requiring an actual, pending discovery request for Rule 26(c) protection, including In re Terra IntT,

 Inc., 134 F.3d 302 (Sth Cir. 1998) (iv) Walmart’s refusal to clarify under oath the authenticity of

 Exhibit 1 and Exhibit 2, (v) detailed evidence impeaching the Milbourne Declaration and the

 associated due process implications, and (vi) Walmart’s misrepresentation of Plaintiff’s position while

 failing to confer in good faith prior to seeking protective relief. Walmart’s selective silence on these

 core issues, while simultaneously introducing unrelated new arguments in its Reply, prejudiced

 Plaintiff’s ability to respond, creating an incomplete and unbalanced record before the Court.


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For example, Walmart s Reply falsely represented that Walmart served its initial disclosures, while

it is true on the surface but ignoring the undisputed fact that Walmart s April 7, 2025 disclosures

contained zero documents and lacked a privilege log, a defect repeatedly raised by Plaintiff. The

Reply also asserted that Walmart was “in the process of producing a privilege log, without

addressing the legal requirement that a privilege log must be produced at the time of withholding to

justify protection under Rule 26(b)(5)(A). Privilege log related to June 9, 2025 does not apply since

on May 5, 2025 (Dkt 62) Plaintiff Objected for future Supplemental Initial Disclosure.


Moreover, Walmart’s Reply raised new factual and legal arguments for the first time, including

mischaracterizations about Plaintiff’s alleged “public postings, changing demands, and other

 issues unrelated to Plaintiff’s controlling arguments in Dkt. 64. By doing so, Walmart deprived

Plaintiff of a meaningful opportunity to challenge these assertions, clarify the record, or supplement

 legal authority in response. The Court’s reliance on Walmart’s improperly raised arguments in issuing

 Dkt. 66, before Plaintiff’s sur-reply deadline of July 2, 2025, further compounded this due process

violation.



 This procedural unfairness violated Plaintiff’s rights under the Fifth and Fourteenth Amendments,

 contradicting the fair notice requirements of federal litigation. Accordingly, the Court’s issuance of

 Dkt. 66, based on arguments improperly raised for the first time in Walmart’s Reply and without

 giving Plaintiff an opportunity to respond, constitutes clear legal error under Rule 60(b)(1), renders

 the Order void for due process violations under Rule 60(b)(4), and presents extraordinary

 circumstances warranting elief under Rule 60(b)(6). Dkt. 66 should therefore be vacated in its

 entirety to preserve procedural integrity and the fair administration of justice.




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                                     IV. RELIEF REQUESTED


For the reasons stated herein and supported by the record, Plaintiff respectfully requests that the

 Court:



    1. VACATE the Protective Order (Dkt. 66) in its entirety under Federal Rules of Civil Procedure

          54(b), 60(b)(1) (clear legal error), 60(b)(4) (due process violation rendering the order void),

          and 60(b)(6) (extraordinary circumstances requiring relief).

    2. Deny Defendant s Renewed Motion for Protective Order (Dkt. 63) as procedurally improper,

          lacking good cause under Rule 26(c), and violating the exchange first, protect second

          requirement under controlling Fifth Circuit precedent and this Court s prior Order (Dkt. 60).

    3. Impose monetary sanctions against Defendant for reasonable expenses, lost time, and

          prejudice incurred by Plaintiff in addressing Walmart’s discovery misconduct and

          misrepresentations to the Court, with Plaintiff to submit a sworn Cost and Time Affidavit

          within seven (7) days of the Court’s order quantifying such expenses.

    4. Impose sanctions under Rule 37(c)(1) precluding Walmart from using any documents,

          electronically stored information (ESI), or information not timely disclosed in its April 7,

          2025 Initial Disclosure and subsequent June 9, 2025 production in support of its defenses,

          dispositive motions, or at trial, due to Walmart’s failure to comply with its mandatory

          disclosure obligations under Rule 26(a) and Rule 26(b)(5).

    5. Preclude Walmart from seeking any further protective orders




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   6. Award such further relief as the Court deems just and proper to protect the integrity of these

       proceedings, deter future misconduct, and ensure Plaintiff s statutory and constitutional rights

       are safeguarded in this whistleblower retaliation action.


 Dated: July 7,2025

                                                     Respectfully Submitted,




                                                        Pro Se
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                                  CERTIFICATE OF SERVICE


On June- Q, 2025, a true and correct copy of the foregoing was served upon the following through the

Court s CM/ECF system:

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 Dated: July f; 2025




                                                     Respectfully Submitted




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